                  IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA


 METLAKATLA INDIAN COMMUNITY,

                        Plaintiff,

                   v.

 MICHAEL J. DUNLEAVY, et al.,                Case No. 5:20-cv-00008-SLG

                        Defendants.


                   AMENDED TRIAL SCHEDULING ORDER

      TRIAL. Subject to any unavoidable conflicts in the Court's calendar, phase

one of a bench trial in this case is scheduled to commence on August 18, 2025,

and is expected to take approximately 5 days. Unless otherwise ordered, trial will

commence at 8:30 a.m. each day and will adjourn for the day at approximately

4:30 p.m.

      A telephonic final pretrial conference is scheduled for August 5, 2025, at

2:00 p.m. See Local Civil Rule 39.1.

      The final pretrial conference will be a telephonic proceeding. The parties

may participate by dialing 571-353-2301 (Call ID 020262828, Pin 487051)

approximately five minutes before the scheduled hearing time The trial will be held

in Room 979 of the Robert Boochever U.S. Courthouse located in the Hurff

Ackerman Saunders Federal Building at 709 West 9th Street, Juneau, Alaska.




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       MOTIONS IN LIMINE. On or before July 7, 2025, each party shall file

motions in limine on any anticipated significant evidentiary issues. Please note:

no replies shall be filed to any opposition to motions in limine unless specifically

requested by the Court.

       WITNESS LISTS. On or before July 28, 2025, each party will file and serve

a trial witness list which shall include only persons who have been previously

disclosed as potential witnesses in a timely filed prior witness list. This trial witness

list will disclose only those witnesses whom the party will in fact call at trial. Only

those witnesses so listed will be permitted to testify at trial.       Witnesses will be

listed in the order in which it is expected they will be called. As to each witness so

listed (even though the witness may have been deposed), the party will disclose

the testimony expected to be elicited from that witness at trial. The disclosure will

be specific and not general, the purpose being to avoid surprise and delay at trial

and to give the opposing party an adequate basis for developing cross-

examination. Expert witnesses will be identified as such and as to their area(s) of

expertise, and an updated statement of each expert's qualifications will be

appended to the witness list.

       DEPOSITION DESIGNATIONS. On or before July 28, 2025, witnesses

whose depositions will be offered in lieu of live testimony will be identified. In lieu

of a statement of testimony which a party expects to elicit from such witnesses, the

party will file and serve deposition designations that specify the precise pages and


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lines from the deposition which are proposed to be offered. Objections to such

testimony, as well as any desired counter-designation of deposition testimony, will

be filed and served on or before August 4, 2025.                 Objections to counter-

designations will be filed and served on or before August 7, 2025.

       Depositions which are to be used for any purpose at trial will be lodged with

the Clerk’s office at the time for the filing of exhibits, and the same will be ordered

published as a matter of course, when and if such depositions are offered. See

Local Civil Rules 32.1 and 39.9(b).

       EXHIBITS. On or before August 4, 2025, the parties shall exchange Trial

Exhibits and Trial Exhibit Lists, and confer regarding stipulations, in accordance

with Local Civil Rule 39.3(b)(1).

       On or before August 11, 2025, each party shall file and serve its Trial Exhibit

List identifying by number or letter those exhibits marked for admission and those

marked for identification, and briefly describing each exhibit. Each party’s Trial

Exhibit List shall identify stipulations as to authenticity and admissibility in

accordance with Local Civil Rule 39.3(b)(2).

       At the time each party files and serves its Trial Exhibit List and each

deposition it anticipates using at trial, it shall also deliver a copy of each to the

Clerk’s office for the Court’s use, in accordance with Local Civil Rule 39.3(b)(3).

       TRIAL BRIEFS. Each party will file and serve a trial brief on or before July

28, 2025, in accordance with Local Civil Rule 39.2.


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       SETTLEMENT CONFERENCE.                    A settlement conference may be

conducted before another judge prior to trial, if there is a judge available, upon

written request of the parties filed with the Court.

       PRIOR STIPULATIONS/ORDERS. To the extent that stipulations of the

parties and/or earlier orders of the Court require additional or more detailed filings

or additional procedures, those earlier stipulations and/or orders will remain in

effect. However, to the extent any such prior stipulation or order conflicts herewith,

this order will control.

       FILING DATES. The parties will prepare, serve or exchange, and file or

lodge with the Court on or before the dates above specified all the documents

above specified. These dates will not be subject to change by stipulation of the

parties and may be changed only by order of the Court for good cause shown.

See Rule 16(f), Federal Rules of Civil Procedure.

       DATED this 1st day of November 2024, at Anchorage, Alaska.

                                                 /s/ Sharon L. Gleason
                                                 UNITED STATES DISTRICT JUDGE




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